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Susan A. Musser, DC Bar # 1531486
Charles Dickinson, DC Bar # 997153
Federal Trade Commission
600 Pennsylvania Avenue, NW
Washington, DC 20580
Tel: (202) 326-2122
Tel: (202) 326-2617
smusser@ftc.gov; cdickinson@ftc.gov

Attorneys for Plaintiff Federal Trade Commission




                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                          Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,                                 PLAINTIFF FEDERAL TRADE
STATE OF MARYLAND,                                 COMMISSION’S UNOPPOSED
STATE OF NEVADA,                                   MOTION TO AMEND STIPULATED
STATE OF NEW MEXICO,                               PROTECTIVE ORDER
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.




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                                             MOTION

       Plaintiff Federal Trade Commission (“FTC”) respectfully moves to amend the stipulated

protective order (ECF 97) that governs this action to permit counsel for the State of Washington

and the State of Colorado to access filings that contain under seal information that also has been

produced in their respective state court actions. Plaintiffs have conferred in good faith with

Defendants The Kroger Company (“Kroger”) and Albertsons Companies, Inc. (“Albertsons”

and, together with Kroger, “Defendants”) regarding this motion in compliance with Local Rule

7.1, and Defendants take no position with respect to the relief requested herein.

                                        MEMORANDUM

       In addition to this action, Kroger’s proposed acquisition of Albertsons has also been

challenged by the Attorneys General of Washington and Colorado under state law (the “Parallel

Actions”). State of Washington v. The Kroger Co., No. 24-2-00977-9 (Wash. Super. Ct.); State

of Colorado v. The Kroger Co., Case No. 24CV30459 (Colo. Dist. Ct.). Discovery in this action

has been coordinated with Parallel Actions to minimize inconvenience to Defendants and third

parties, Stipulation and Order Governing Remote Depositions (ECF 156), and substantially the

same documents have been produced in each action, where they are covered by protective orders,

Ex. A, Stipulated Protective Order, State of Washington v. The Kroger Co., et al., No. 24-2-

00977-9 (Wash. Super. Ct. Mar. 14, 2024); Ex. B, Stipulated Protective Order, State of Colorado

v. The Kroger Co., Case No. 24CV30459 (Colo. Dist. Ct. Apr. 23, 2024). As a result of these

protective orders and the extensive confidentiality claims made by Defendants and third parties,

only Defendants have access to all filings and evidence in all three actions. Plaintiffs in the three

cases have thus been unable to fully assess whether Defendants’ filings contain inconsistencies,

party admissions, or statements subject to judicial estoppel that would be relevant to the
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litigation of each case. Defendants’ confidentiality claims should not frustrate rights of access

by parties who already are subject to protective orders governing precisely the same materials.

       The plaintiffs in the three actions have agreed among themselves to seek amendments to

the protective orders in their respective proceedings. The Colorado Attorney General has already

obtained an order amending the protective order applicable to its action. Ex. C, Amended

Stipulated Protective Order, State of Colorado v. The Kroger Co., Case No. 24CV30459 (Colo.

Dist. Ct. Sept. 17, 2024)

       Plaintiffs request that the Stipulated Protective Order in this action be amended to permit

the plaintiffs in the Parallel Actions to: (1) receive an unredacted transcript of any testimony of a

witness that is presented in the above-captioned proceeding and (2) receive unredacted copies of

under seal court filings in the above-captioned proceedings. They would not be able to access

the confidential information of a third party that was not subpoenaed in their respective Parallel

Action unless the third party consents. Although the Court maintained an open courtroom during

the preliminary injunction hearing, the testimony included adoption by reference of transcripts

filed under seal as well as testimony about exhibits that were not publicly displayed, both of

which should be made available to the Washington and Colorado Attorneys General.

                                      LEGAL STANDARD

       Pursuant to Federal Rule of Civil Procedure 26(c)(1), a court may enter a protective order

limiting access to discovery materials, including “trade secret or other confidential research,

development, or commercial information,” upon a motion establishing the existence of “good

cause.” A showing of good cause is required because protective orders depart from the general

principle that “the public can gain access to litigation documents and information produced

during discovery.” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206 (9th Cir.
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2002). Where amendment to an existing protective order is sought to permit disclosure of

information to a non-party, the party seeking continued protection of its information bears the

burden of establishing that good cause exists to continue to deny access. Beckman Indus., Inc. v.

Int’l Ins. Co., 966 F.2d 470, 475-76 (9th Cir. 1992).

                                          ARGUMENT

       Defendants bear the burden of showing that information contained in sealed exhibits and

filings should be protected from the plaintiffs in the Parallel Actions, Beckman Indus., Inc., 966

F.2d at 475-76, but they have chosen to take no position on this motion. The Court should

therefore find that good cause does not exist to withhold these materials from plaintiffs in the

Parallel Actions. They should have access to determine whether Defendants’ filings contain

inconsistencies, party admissions, or statements subject to judicial estoppel that would be

relevant to the litigation of those cases. There is no risk to Defendants’ confidential information

because the information in question has already been produced to the plaintiffs in the Parallel

Actions and subject to confidential order protections. The information of third parties is also

already protected to the extent of overlapping subpoenas and will not be provided with respect to

third parties who were not subpoenaed in the Parallel Actions.




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                                            CONCLUSION

       Plaintiffs respectfully request the Court grant this motion amending the stipulated

protective order.



 Dated: September 25, 2024                Respectfully submitted,

                                          /s/ Susan A. Musser
                                          Susan A. Musser, DC Bar # 1531486
                                          Charles Dickinson, DC Bar # 997153


                                          Federal Trade Commission
                                          Bureau of Competition
                                          600 Pennsylvania Avenue, NW
                                          Washington, DC 20580
                                          Telephone: (202) 326-2122
                                          smusser@ftc.gov
                                          cdickinson@ftc.gov

                                          Attorneys for Plaintiff Federal Trade Commission




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